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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

DEUTSCHE BANK NATIONAL TRUST    §
COMPANY, AS TRUSTEE FOR         §
AMERIQUEST MORTGAGE SECURITIES §
INC., ASSET-BACKED PASS-THROUGH §
CERTIFICATES, SERIES 2004-R10,  §
                                §
       Plaintiff,               §
                                §                        Civil Action No. 4:19-cv-00825
v.                              §
                                §
SAIHAT CORPORATION AND          §
FAIRMONT PARK EAST              §
HOMEOWNERS’ ASSOCIATION,        §
                                §
       Defendants.              §

                              PLAINTIFF’S STATUS REPORT

       Plaintiff Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage

Securities Inc., Asset-Backed Pass-Through Certificates, Series 2004-R10 (“Plaintiff”) file this

Status Report as ordered by the Court (Minute Entry on July 22, 2020) and respectfully show the

Court as follows:

       On March 20, 2020, the Court entered an Order requiring Plaintiff and Defendant Saihat

Corporation (“the Parties”) to discuss and negotiate in good faith the potential for settlement.

(ECF Document No. 45.) The Court further noted that the Parties must conduct negotiations by

April 10, 2020 and submit a joint report on the same. (Id.). The Parties submitted a Joint Status

Report on April 10, 2020, informing the Court that they have started engaging in settlement

negotiations. (ECF Document No. 46.) The Court reviewed the said report and ordered the

Parties to provide another update by May 15, 2020. (Minute Entry on May 15, 2020.) On May

15, 2020, the Parties filed a Joint Status Report notifying the Court that they intend to mediate


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this dispute. (ECF Document No. 47.) In response, the Court ordered the Parties to conduct

mediation by June 19, 2020. (Minute Entry entered on May 21, 2020.)

       The Parties conducted a virtual mediation on June 3, 2020. However, the mediation was

adjourned until Defendant could provide documentation for Plaintiff’s review to determine if

settlement was possible. (See ECF Document No. 48.) Therefore, Plaintiff requested a brief

extension of the mediation deadline. (Id.). The Court granted an extension and ordered the

Parties to finish mediation by July 10, 2020. (ECF Document No. 49.) Subsequent to the

extension, Plaintiff’s counsel did not receive any communication from Defendant’s counsel until

on July 12, 2020, when Defendant filed a Supplemental Response to Plaintiff’s Motion for

Summary Judgment. (ECF Document No. 50.)

       Therefore, the Parties reached an impasse and the dispute between the Parties remains

unresolved.

                                                Respectfully submitted,

                                                By: /s/ Samin Hessami
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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 23, 2020, a true and correct copy of the foregoing was served
via e-service on the following counsel of record:

   Jerry L. Schutza
   815 Walker Street, Suite 1453
   Houston, Texas 77002

                                                  /s/ Samin Hessami                ___
                                                  SAMIN HESSAMI




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